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      LAW OFFICES OF DAVID A KAUFMAN, APC
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      Attorney for Plaintiff
    4 CAROLINE WICHMAN
    5                        UNITED STATES DISTRICT COURT
    6                      CENTRAL DISTRICT OF CALIFORNIA
    7    CAROLINE WICHMAN,                       Case No.: 2:22-cv-03156
         individually and as successor in        Complaint Filed: 05/09/22
    8    interest to Edward Zamora Giron II,     Judge: Hon. Dolly M. Gee
         deceased,
    9                                            DECLARATION OF ATTORNEY
                            Plaintiffs,          DAVID A KAUFMAN IN SUPPORT
   10                                            OF MOTION FOR LEAVE TO
         v.                                      WITHDRAW AS COUNSEL FOR
   11                                            PLAINTIFF CAROLINE WICHMAN
         CITY OF SAN LUIS OBISPO, a
   12    municipal entity; COUNTY OF             Pursuant to Local Rule L.R. 83-2.3.2
         SAN LUIS OBISPO, a municipal
   13    entity; BRYAN AMOROSO, an               Hearing Details
         individual; STEVE OROZCO, an            Friday, October 28, 2022
   14    individual; IAN PARKINSON, an           9:30 am
         individual; RICK SCOTT; and
   15    DOES 1-25, inclusive,                   United States Courthouse
                                                 350 West 1st Street
   16                       Defendants.          Los Angeles, CA, 90012
                                                 Courtroom 8C, 8th Floor
   17
                                                 https://www.cacd.uscourts.gov/honorable-
   18                                            dolly-m-gee
   19                             ATTORNEY DECLARATION
   20         1.    I, David A. Kaufman, am an attorney duly licensed to practice law
   21 before all courts of the State of California. I am counsel for Plaintiff, CAROLINE
   22 WICHMAN. This motion is brought seeking leave of Court to be relieved as
   23 Plaintiff’s counsel in this matter. The following facts are within my personal
   24 knowledge and, if called as a witness herein, I can and will competently testify
   25 thereto.
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   28         ATTORNEY DECLARATION IN SUPPORT OF MOTION TO BE
                           RELIEVED AS COUNSEL
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    1         2.     On or about April 5, 2022, the counsel, the undersigned, was retained
    2 to represent Plaintiff, CAROLINE WICHMAN, with respect to certain claims
    3 against the CITY OF SAN LUIS OBISPO and COUNTY OF SAN LUIS OBISPO,
    4 arising from an incident that occurred on or about May 10, 2021, that resulted in the
    5 death of a CITY of SAN LUIS OBISPO police officer and the plaintiff’s son. The
    6 CITY and COUNTY had not released any of the investigative reports or a critical
    7 incident video of the event and there was speculation that there was more to the
    8 story than the narrative that was released in the media immediately following, as the
    9 information supporting the narrative was provided exclusively by law enforcement.
   10 On or about November 9, 2021, a tort claim, pursuant to Gov’t Code §910, et. seq.,
   11 previously presented to the COUNTY was denied, giving the Plaintiff until May 9 th
   12 to file suit to preserve any claims arising under California law.
   13         3.     Plaintiff filed suit on or about May 9th, initiating the instant case (Doc
   14 #1). On or about July 23, 2022, Plaintiff would amend the complaint, filing a First
   15 Amended Complaint (Doc #11) and add additional factual pleading and individual
   16 defendants. The defendants were served in or around August 3rd or 4th, before the
   17 running of the mandatory ninety (90) days for service of the defendants.
   18         4.     Beginning in or around August 4th and continuing through August 8 th,
   19 Counsel for the defendants met and conferred with Plaintiff’s counsel as a prelude to
   20 filing FRCP 12(b)(6) motions to dismiss. During the meet and confer, defense
   21 counsel, who had seen the body cam video of the incident described what the video
   22 showed with respect to the underlying incident and also suggested that perhaps the
   23 parties might consider stipulating to an extension of the responsive pleading
   24 deadline to allow Plaintiff’s counsel an opportunity to review the body cam footage
   25 and investigative files and reassess Plaintiff’s decision with respect to the merits of
   26 the underlying case.
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   28                                 -2-
              ATTORNEY DECLARATION IN SUPPORT OF MOTION TO BE
                     RELIEVED AS COUNSEL FOR PLAINTIFF
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    1         5.      On or about August 15th the Parties entered into and filed a stipulation
    2 to extend the responsive pleading deadline (Doc # 40). Also on August 15, 2022,
    3 the Parties entered into and filed a stipulated protective order (Doc # 41) that would
    4 allow defense counsel to share sensitive documents with Plaintiff’s counsel to assist
    5 a more informed assessment of the merits of the case.
    6         6.      In or around August 28th the COUNTY shared an autopsy report of the
    7 decedent, Mr. Giron. The parties continued to meet and confer view phone and
    8 email regarding access to the bodycam video footage and incident investigative
    9 report. The COUNTY and CITY were not comfortable providing the materials
   10 electronically because of the impossibility of controlling who might have access or
   11 be able to see the materials if they were released. It was proposed that Plaintiff’s
   12 counsel travel to defense counsel’s office to view the investigative files and video.
   13 In or around September 3rd Plans were eventually reached for Plaintiff’s counsel to
   14 travel from San Diego to sit with defense counsel in San Luis Obispo at their offices
   15 to have a chance to view the incident video and review the investigative files.
   16         7.      On or about September 9th Plaintiff’s counsel travelled to San Luis
   17 Obispo to meet with defense counsel to review the investigative files and video of
   18 the incident.
   19         8.      After having a chance to review the files and video of the incident
   20 counsel discussed the evidence with Plaintiff, what specifically it portended for the
   21 case, and advised on a sensible course of action with respect to the litigation.
   22         9.      The undersigned initially sought to get the Plaintiff to follow the advice
   23 of counsel with respect to handling of the case following the opportunity to review
   24 evidence in the hands of the other side. However, the Client did not wish to follow
   25 the advice of counsel and instead sought to pursue a different course of action.
   26 Counsel advised what was the only prudent and sensible option under the
   27 circumstances but seeing that this was not well received then sought to have the
   28                                 -3-
              ATTORNEY DECLARATION IN SUPPORT OF MOTION TO BE
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    1 Client sign a form substitution/withdrawal of attorney to free the Client to pursue
    2 her own course. However, the Client refused to sign the form substitution of
    3 counsel, making the instant motion to withdraw necessary.
    4         I hereby certify that the foregoing is true and correct and declare thereto under
    5 penalty of perjury in accordance with the law of the state of California.
    6
           Dated:    September 29, 2022_
    7
                                                By:
    8                                                 David Kaufman
                                                      Attorney for Plaintiff
    9                                                 CAROLINE WICHMAN
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   28                                -4-
             ATTORNEY DECLARATION IN SUPPORT OF MOTION TO BE
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                            Case No: 2:22-cv-03156
